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 8                      United States District Court

 9                     Eastern District of California

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12   United States of America,

13              Plaintiff,          No. Cr.S-05-0443-WBS

14        vs.                       Detention Order

15   Francisco Perez Lucatero,

16              Defendant.

17                                  -oOo-

18   A.   Order For Detention

19        After conducting a detention hearing pursuant to 18 U.S.C. §
     3142(f) of the Bail Reform Act, the Court orders the above-named
20   defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

21   B.   Statement Of Reasons For The Detention

22        The Court orders the defendant's detention because it finds:

23
            x        By a preponderance of the evidence that no
24                   condition or combination of conditions will
                     reasonably assure the appearance of the defendant
25                   as required.

26          x        By clear and convincing evidence that no condition
                     or combination of conditions will reasonably assure
 1                   the safety of any other person and the community.

 2   C.   Findings Of Fact

 3        The Court's findings are based on the evidence which was
     presented in Court and that which was contained in the Pretrial
 4   Services Report, and includes the following:

 5          x        (1) Nature     and Circumstances of the offense
                     charged.
 6
                 x         (a) The crime. 21 USC 841, 846.
 7
                           (b) The offense is a crime of violence.
 8
                           (c) The offense involves a narcotic.
 9
                           (d) The offense involves a large amount of
10                         controlled substances.

11                   (2) The weight of the evidence against the
                     defendant is high.
12
            x        (3)   The   history and characteristics of the
13                   defendant including:

14                   (a)   General Factors:

15                              The defendant appears to have a mental
                                condition which may affect whether the
16                              defendant will appear.

17                              The defendant has no family ties in the
                                area.
18
                                The defendant has no steady employment.
19
                                The defendant has no substantial
20                              financial resources.

21                              The defendant is not a long time resident
                                of the community.
22
                                The defendant does not have any
23                              significant community ties.

24                     x        Past conduct of the defendant: Use of
                                alias.
25
                                The defendant has a history relating to
26
                                       2
 1                              drug abuse.

 2                              The defendant has a significant prior
                                criminal record.
 3
                                The defendant has a prior record of
 4                              failure to appear at court proceedings.

 5                  (b)   Whether the defendant was on           probation,
                          parole, or release by a court;
 6
                    At the time of the current arrest, the defendant was
 7   on:

 8                              Probation.

 9                              Parole.

10                              Release pending trial, sentence, appeal
                                or completion of sentence.
11
                    (c)   Other Factors
12
                                The defendant is an illegal alien and is
13                              subject to deportation.

14                              The defendant is a legal alien and will
                                be subject to deportation if convicted.
15
                      x         Other:        Declined PTS interview.
16
            x       (4)   Rebuttable Presumptions
17
           In determining that the defendant should be detained, the
18         court also relied on the following rebuttable presumption(s)
           contained in 18 U.S.C. § 3142(e), which the court finds the
19         defendant has not rebutted:

20                        (a)   (1) The crime charged is one described in
                                § 3142(f)(1)
21
                                     (A) a crime of violence; or
22
                                     (B) an offense for which the maximum
23                                   penalty is life imprisonment or
                                     death; or
24
                                     (C) a controlled substance violation
25                                   that has a maximum penalty of ten
                                     years or more; or
26
                                          3
 1                                      (D) a felony and defendant
                                        previously was convicted of two or
 2                                      more of the offenses described in
                                        (A) through (C) above and
 3
                             (2)   Defendant previously has been convicted
 4                                 of   one  of   the   crimes  listed  in
                                   subparagraph (1)(A)-(C), above and
 5
                             (3)   The offense referred to in subparagraph
 6                                 (2) was committed while defendant was on
                                   release pending trial and
 7
                             (4)   Not more than five years has elapsed
 8                                 since the date of conviction or release
                                   from   imprisonment   for  the   offense
 9                                 referred to in subparagraph (2).

10                  x        (b)   There is probable cause to believe that
                                   defendant committed an offense for which
11                                 a maximum term of imprisonment of ten
                                   years or more is prescribed
12
                         x         in the Controlled Substances Act, 21
13                                 U.S.C. §§ 801, et seq.,

14                                 the Controlled Substances Act , 21 U.S.C.
                                   §§ 951, et seq.,
15
                                   the Maritime Drug Law Enforcement Act, 46
16                                 U.S.C. App. §§ 1901, et seq., or

17                                 an offense under 18 U.S.C. §§ 924(c),
                                   956(a), or 2332b.
18
                                   an offense under 18 U.S.C. §§ 1201, 1591,
19                                 2241, 2242, 2244(a)(1), 2245, 2251,
                                   2251A,     2252(a)(1),      2252(a)(2),
20                                 2252(a)(3),   2252A(a)(1),  2252A(a)(2),
                                   2252A(a)(3), 2252A(a)(4), 2260, 2421,
21                                 2422, 2423 or 2425.

22   D.      Additional Directives

23           Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs
     that:
24
          The defendant be committed to the custody of the Attorney
25   General for confinement in a corrections facility separate, to the
     extent practicable, from persons awaiting or serving sentences or
26
                                          4
 1   being held in custody pending appeal; and

 2        The defendant be afforded reasonable opportunity for private
     consultation with his counsel; and
 3
          That, on order of a court of the United States, or request of
 4   an attorney for the Government, the person in charge of the
     corrections facility in which the defendant is confined deliver the
 5   defendant to a United States Marshal for the purpose of an
     appearance in connection with a court proceeding.
 6

 7        Dated: October 28, 2005

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 9                                            /s/ Peter A. Nowinski
                                                 Peter A. Nowinski
10                                               Magistrate Judge

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